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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

AML IP, LLC,                                  )
     Plaintiff,                               )
                                              )      Civil Action No. 6:22-cv-01262-ADA
v.                                            )
                                              )
AIRBNB, INC.,                                 )      JURY TRIAL DEMANDED
     Defendant.                               )


     UNOPPOSED NOTICE FOR EXTENSION OF TIME TO ANSWER PLAINTIFF’S
                      FIRST AMENDED COMPLAINT

       AML IP, LLC files this Notice for Extension of Time for Defendant, AirBnB, Inc. to

Answer Plaintiff’s First Amended Complaint. Defendant has contacted Plaintiff’s counsel and

requested a 30-day extension to answer or respond as the parties are working on a resolution to

this case. Plaintiff files this notice unopposed and agreed to allow the extension of time to answer

complaint or respond including April 8, 2023.


                                              Respectfully submitted,

                                              Ramey LLP

                                              /s/ William P. Ramey, III
                                              William P. Ramey, III
                                              Texas State Bar No. 24027643
                                              5020 Montrose Blvd., Suite 800
                                              Houston, Texas 77006
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                                              Attorneys for AML IP, LLC
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                            CERTIFICATE OF CONFERENCE

       Pursuant to Local Rules, I certify that the parties have conferred by e-mail and are in

agreement as to the extension.

                                            /s/ William P. Ramey, III
                                            William P. Ramey, III


                                 CERTIFICATE OF SERVICE

       Pursuant to the Federal Rules of Civil Procedure and LR5, I hereby certify that all counsel

of record who have appeared in this case are being served on this day of March 8, 2023, with a

copy of the foregoing via email and ECF filing.

                                            /s/ William P. Ramey, III
                                            William P. Ramey, III
